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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

REVEREND DOCTOR BECK,                                   )
                                                        )
                                Plaintiff,              )
                                                        )
                v.                                      )       Civil Action No. 20-3659 (UNA)
                                                        )
WILLIAM PELHAM BARR, et al.,                            )
                                                        )
                                Defendants.             )

                                   MEMORANDUM OPINION

        The plaintiff alleges that, between January 1, 1994, and October 15, 2015, while

incarcerated at the Minnesota Correctional Facility - Stillwater, Compl. (ECF No. 1-1) at 5 (page

numbers designated by CM/ECF), he “suffered immense physical and mental tortures” because

the defendants denied medical treatment for an injury to his right testicle, see id. (ECF No. 1) at

6, 7, ultimately “result[ing] in his involuntary sterilization,” id. at 7. He brings this action

against the Attorney General of the United States, the Chief Justice of the Supreme Court of the

United States, various federal judges and prosecutors, an official of the State of Minnesota, and

an attorney, see id. at 3, for alleged violations of rights protected under the First, Fourth, Fifth,

Seventh, Eighth and Fourteenth Amendments to the United States Constitution, id. at 5. And on

review of Plaintiff’s Affidavit of Exhaustion,” (ECF No. 4), the plaintiff also brings this action

under the Federal Tort Claims Act. He demands damages totaling $2,800.000. See id. at 7.

        The Court concludes that the plaintiff’s claims for monetary damages against Chief

Justice Roberts and the other federal judges must be dismissed because these defendants are

absolutely immune from suit. See Mirales v. Waco, 502 U.S. 9 (1991) (finding that “judicial

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immunity is an immunity from suit, not just from ultimate assessment of damages); Stump v.

Sparkman, 435 U.S. 349, 364 (1978) (concluding that state judge was “immune from damages

liability even if his [decision] was in error”); Pierson v. Ray, 386 U.S. 547, 553-54 (1967) (“Few

doctrines were more solidly established at common law than the immunity of judges from

liability for damages for acts committed within their judicial jurisdiction, as this Court

recognized when it adopted the doctrine, in Bradley v. Fisher, 13 Wall. 335, 20 L. Ed. 646

(1872).”); see also Forrester v. White, 484 U.S. 219, 226-27 (1988) (discussing “purposes served

by judicial immunity from liability in damages”). Similarly, the federal prosecutor defendants

are immune from a suit for damages. See Imbler v. Pachtman, 424 U.S. 409, 427 (1976).

       Assuming without deciding that the plaintiff raises a viable claim under the Federal Tort

Claims Act, the Court concludes that it may not proceed properly in this district. See 28 U.S.C. §

1402(b) (stating that a “tort claim against the United States . . . may be prosecuted only in the

judicial district where the plaintiff resides or wherein the act or omission complained of

occurred”). Nor is this district the proper venue for adjudication of any claim against the

Minnesota defendants. See 28 U.S.C. § 1391(b) (designating proper venue as the location where

defendants are or where a substantial part of the events giving rise to the claim occurred).

       The Court will grant the plaintiff’s application to proceed in forma pauperis and dismiss

the complaint and this civil action without prejudice. An Order is issued separately.



DATE: December 30, 2020                               /s/
                                                      CHRISTOPHER R. COOPER
                                                      United States District Judge



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